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                          IN THE UNITED STATES DISTRICT COURT
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                             FOR THE DISTRICT OF MARYLAND                                       AT GREEI~BELT
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UNITED STATES OF AMERICA                        *
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       v.                                       *             Criminal No. PJM 94-454
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GERALD LEE CASHWELL                             *
                                                *
                                   MEMORANDUM OPINION

       The Public Defender has filed a "status report" regarding a motion under 18 U.S.C.                        S
3582 requesting a reduction in defendant's sentence due to the adoption of Amendment 706 to

the Sentencing Guidelines.     As the status report notes, the defendant was found to be a career

offender under    S 4B 1.1; nevertheless,   the report asserts that the sentence was "based on"                  S
20 1.1(c), which has been lowered by Amendment 706.           Other courts considering this issue,

however, have uniformly resolved it against the position taken in the status report. Accordingly,

the motion under 18 U.S.C. S 3582(c)(2) will be denied for the following reasons.

       Section 3582( c)(2) of Title 18 provides:

                 in the case of a defendant who has been sentenced to a term of
                 imprisonment based on a sentencing range that has subsequently
                 been lowered by the Sentencing Commission pursuant to 28 U.S.C.
                 S 994(0), upon motion of the defendant or the Director of the
                 Bureau of Prisons, or on its own motion, the court may reduce the
                 term of imprisonment, after considering the factors set forth in
                 section 3553(a) to the extent that they are applicable, if such a
                 reduction is consistent with applicable policy statements issued by
                 the Sentencing Commission.

       In United States v. Plater, 2008 WL 2543435, at * 1 (D.Md. June 24, 2008), this member

of the Court noted that "such a reduction is not authorized under S 3582(c) (2) if'the amendment

does not have the effect of lowering the defendant's applicable guideline range because of the
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operation of another guideline or statutory provision.' U .S.S.G. 9 1B 1.10 comment. (n.I (A)(ii»

(Supp. to 2007 Guidelines Manual)."    The Court ultimately held:

                       As a career offender, the guideline range applicable to
              Plater was prescribed by Section 4B 1.1 rather than Section 201.1,
              i.e., the guideline for the "crack" offense, with the result that
              Amendment 706 does not ryave the effect of lowering the
              applicable guideline range. The Fourth Circuit has firmly agreed
              with this analysis, holding in similar cases that while the "base
              offense level corresponding to the determined drug quantity would
              be lower as a result of Amendment 706, the amendment is
              ultimately of no consequence because calculation of [defendant's]
              base offense level was driven by the career offender designation,"
              United States v. Bronson, 2008 WL 539796, at *3 (4th Cir.
              February 27, 2008); see also United States v. Gray, 2008 WL
              895012, at *2 (4th Cir. April 2, 2008).

Plater, 2008 WL 2543435 at *2.          The Fourth Circuit upheld that decision, albeit In an

unpublished opinion:


                       Angelo Albert Plater appeals the district court's order
               denying his 18 U.S.C. 9 3582(c)(2) (2006) motion. We have
               reviewed the record and find no reversible error. See United States
               v. Hood, 556 F.3d 226 (4th Cir. 2009). Accordingly, we affirm for
               the reasons stated by the district court. United States v. Plater, No.
               8:97-cr-00408-PJM-I, 2008 WL 2543435 (D. Md. filed June 24,
               2008; entered June 25, 2008). We dispense with oral argument
               because the facts and legal contentions are adequately presented in
               the materials before the court and argument would not aid the
               decisional process.

United States v. Plater, 322 Fed.Appx. 353 (4th Cir. April 22, 2009).

       Since then, the First, Second, Third, Sixth, Seventh, Eighth, Ninth, and Tenth Circuits

have held that Amendment 706 offers no relief to defendants sentenced as career offenders.      In

United States v. Wesson, 583 F.3d 728, 731 (9th Cir. 2009), the court observed:

               [W]ith respect to the first prong of 18 U.S.C. 9 3582(c)(2), a drug
               offense sentence that is "based on" a sentencing range calculated
               under U.S.S.G. 9 4B 1.1 because the defendant was a career
               offender cannot have been "based on" a sentencing range
                                                     2
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               calculated under the 9 2D 1.1 drug amount table.            The two
               sentencing schemes are mutually exclusive.         We thus join our
               sister circuits in holding that a career offender sentenced pursuant
               to 9 4B 1.1 is not eligible for a sentence reduction under
               Amendment 706. See United States v. Perdue, 572 F.3d 288, 291-
               93 (6th Cir. 2009); United States v. Martinez, 572 F.3d 82, 84-85
               (2d Cir. 2009) (per curiam); United States v. Mateo, 560 F.3d 152,
               154-56 (3d Cir.2009); United States v. Forman, 553 F.3d 585, 589-
               90 (7th Cir. 2009) (per curiam); United States v. Caraballo, 552
               F.3d 6, 9-12 (1st Cir.2008); United States v. Sharkey, 543 F.3d
                1236, 1238-39 (10th Cir. 2008); United States v. Tingle, 524 F.3d
               839, 839-40 (8th Cir. 2008) (per curiam).

There also are several unpublished Fourth Circuit cases in addition to Plater that hold that career

offenders do not get the benefit of the "crack amendment."      See, e.g., United States v. Byers,
                                                                                             th
2009 WL 2870205 (4th Cir. Sept. 8, 2009); United States v. Mack, 327 Fed.Appx. 428 (4             Cir.

May 14,2009); United States v. Carson, 332 Fed.Appx. 75 (4th Cir. June 17,2009).

       Accordingly, the Motion will be denied.

       A separate Order will issue.




                                                                 /s/
                                                         E ER J. MESSITTE
August 13,2010                                            \t\ TES DISTRICT JUDGE




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